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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MARION COSTER, et al.,              *
                                    *
            Plaintiffs,             *
                                    *              Civil Action No. 18-CV-1995-APM
      v.                            *
                                    *
STEVEN F. SCHWAT, et al.,           *
                                    *
            Defendants,             *
                                    *
___________________________________ *

               CONSENT MOTION TO MODIFY SCHEDULING ORDER

       To provide additional time to complete discovery after the resolution of the pending Motion

to Compel, Plaintiffs request, with Defendants’ consent, the following modifications to the

following case deadlines set forth in the Court’s November 23, 2021 Minute Order:

          •   Close of Fact Discovery – May 3, 2022 (currently 03/04/2022)

          •   Joint Status Report Re Discovery Status – May 10, 2022 (currently 03/11/2022)

          •   Plaintiffs’ Expert Reports & Rule 26(a)(2) Disclosures – May 31, 2022

              (currently 04/01/2022)

          •   Defendants’ Expert Reports & Rule 26(a)(2) Disclosures – July 29, 2022

              (currently 05/30/2022)

          •   Plaintiff’s Rebuttal Expert Reports & Rule 26(a)(2) Disclosures – August 12,

              2022 (currently 06/13/2022)

          •   Close of Discovery – August 26, 2022 (currently 06/27/2022)

          •   Post-Discovery Status Conference – September 2, 2022 (currently 07/05/2022).

                                    *       *      *       *
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       In making this request, Plaintiffs note this is the fourth request for modification of the

Court’s Scheduling Order.

       Plaintiffs further note that they intend to submit a motion to modify the Scheduling Order

after the Court rules on the pending Motion to Compel, and Defendants have likewise consented

to this proposed additional modification. Such motion would request the close of fact discovery

deadline be set 60 days after any production deadline set in the Court’s order on the Motion to

Compel, or 60 days after the date of the order if the Motion to Compel were denied in full, and

concurrent extensions of the other deadlines.



                                            Respectfully submitted,


Dated: March 2, 2022                        /s/Branden Lewiston
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                                            Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the electronic court filing system, which will provide notification of

such filing to all counsel of record.

                                                     /s/Branden Lewiston
                                                     Branden Lewiston




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